Case 2:16-cv-00082-JRG Document 359 Filed 01/22/18 Page 1 of 1 PageID #: 15260



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

SAINT LAWRENCE                                  §
COMMUNICATIONS LLC                              §
          Plaintiff,                            §
                                                §
v.                                              §      CASE NO. 2:16-cv-00082-JRG
                                                §
APPLE INC., et al                               §
             Defendants.                        §

                                 REPORT OF MEDIATION

        The above-captioned case was mediated by David Folsom on August 15, 2017, between

Plaintiff, Saint Lawrence Communications LLC, and Defendant, Apple Inc., at which time, the

mediation session was suspended.      After additional follow up between the parties and the

undersigned mediator, a settlement has been reached.

        Signed this 22nd day of January 2018.

                                                    /s/ David Folsom
                                                    David Folsom
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on this 22nd day of January 2018. As such, this document
was served on all counsel who are deemed to have consented to electronic service. Local Rule
CV-5(a)(3)(A).

                                                    /s/ David Folsom
                                                    David Folsom




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